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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JAMES EVERETT SHELTON                 :   CIVIL ACTION
                                      :
         V.                           :   NO.: 22-CV-01346
                                      :
PREMIUM MERCHANT FUNDING ONE,         :
LLC.                                  :


                                  N O T I C E


            AND NOW, on this     13TH day of July, 2022, it is hereby

ORDERED that within fourteen (14) days of the date of this notice, the

parties shall confer, prepare and submit a joint report pursuant to

Federal Rule of Civil Procedure 26(f).      The instructions for preparing

the joint report are available on Judge Robreno’s website and must be

followed.     See http://www.paed.uscourts.gov/judges-info/senior-

judges/eduardo-c-robreno. The joint report should be emailed to

robrenocorrespondence@paed.uscourts.gov on or before July 27, 2022.

     Judge Robreno requires that all documents are filed electronically

by the attorney using the Electronic Case Filing (ECF) system.          ECF

provides greater efficiency and timeliness in the filing of pleadings,

automatic e-mail notice of case activity, as well as electronic storage

of documents for remote access by the Court, the bar and the litigants.

Attorneys appearing before Judge Robreno are required to register as

Electronic Case Filing ("ECF") Filing Users at the Office of the Clerk


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of Court or at this court's website at www.paed.uscourts.gov. Do not

send courtesy copies of pleadings filed electronically to the court.

      A copy of the "Pretrial and Trial Procedure" for Judge Robreno is

available on this court's web site at www.paed.uscourts.gov under the

heading "Documents" and the subheading "Judges' Procedures".




                                  /s/ Eduardo C. Robreno________
                                  Honorable Eduardo C. Robreno




CC:     All Parties




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